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 8                           UNITED STATES DISTRICT COURT
 9                          EASTERN DISTRICT OF CALIFORNIA
10
     UNITED STATES OF AMERICA,                        Case No. 1:09-CR-00272-OWW
11                                                    [Hon. Oliver W. Wanger]
                         Plaintiff,
12
                                                      ORDER RETURNING PROPERTY
13         vs.
14
     FLORENTINO GUTIERREZ-
15   MORENO,
16                       Defendant,
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18
           Defendant FLORENTINO GUTIERREZ-MORENO, by and through his attorneys,
19
     the Law Offices of Richard A. Moss, has requested that this Court order his passport
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     issued by the country of Mexico be returned to him forthwith:
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           Therefore, good cause appearing,
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           IT IS HEREBY ORDERED that the Mexican passport issued to Florentino
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     Gutierrez-Moreno be returned to him forthwith.
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26   IT IS SO ORDERED.
27   Dated: June 10, 2010                          /s/ Oliver W. Wanger
     emm0d6                                   UNITED STATES DISTRICT JUDGE
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